                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE MIDDLE DISTRICT OF TENNESSEE
                                   NASHVILLE DIVISION



UNITED STATES OF AMERICA,            )
                                     )
     Plaintiff,                      )
                                     )                     3:11-cr-00012
v.                                   )                       .
                                     )
ROBERT PORTER, et al.                )
                                     )
     Defendants.                     )


                                           ORDER

          Document #863, Johnson’s Motion to Reveal Statements the Government Intends to Use

As Co-Conspirator Statements and joined by Xavier Parnell, Dmitri Johnson, Porter, and Dinkins

is DENIED. The evidentiary admissibility under Rule 801(d)(2)(E) of any statement is reserved for

trial.

          It is so ORDERED.




                                            Thomas A. Wiseman, Jr.
                                            Senior United States District Judge




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